            Case 2:22-cv-00840-JVS-AGR Document 1 Filed 02/07/22 Page 1 of 10 Page ID #:1
    No CV71

        1       A.Eav~►and Ear                                    ~~
               Plaintiff                                                               ~ P"~ 2.56
-      2
               305 S. Hudson Avenue, Suite 300                          ~~ZZ ~~B
       3       Pasadena, CA 91101                                            ~;~ ~ i ', ~`~`, j ~~ ~(~ ~ e~
               Telephone: (626 568-8098                                    -       ~ ~.; ,•.
       4
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                                                                                                              ~
                                                                                                                  ~~ ~."r   r
       6
                                                                                              R     ~             _ _..
                                                                                                         FEB         ~, 20?2
                                       UNI'T'ED STATES DISTRICT COURT !                                                         `..
       s
       9                             G`ENTRAL DISTRICT OF CAL~FORNiA

       1Q                                                                 ~ ~~--TV~
                                                                    ~~Y22~DAMAG                                                       l~' :~
       11      A.EDWARD EZOR,                                                   ES AND
                                                                   G~OMPLAINT FOR
                                                                   EQUITABLE ~tEi.iFF
       12                       Plaintiff
                           v.
       13
               BETTY T. Y~TATE BAR OF
       14      CALIFO          AH T. WILSQN,                       DE~1iIAND FOR JURY TRIAL
               ]4RDANN.       GHT A~tFT.ANiF
       15             S~~
                 JAY~JO
               O~D             Il                                  DAMAGES: $10,000,000
                                 V~N4I~OBER~
       I6      SERTNER, B J ~[YMES 'TRUST, and
               DQES 1 ~rOugh 10, inclusive,
       17
                                 Defexidants
       is
       19



                     COMES NOV~i Plaintiff A EDWARD F70R (`~ZOR"), and alleges as follows:
       21
       22
       23                                      PRELIlN1Il~tARY A►I.~EGATIONS
       24
       25           1.     Plamiiff isy aid was at all times herein meniioneci, an individual tiding
       26     in the County of Los Angeles, State of California Piai~tiff is, aid was st all times relevant
       27     hereto, ~ admit owe eigb~eea years old
       28

              ~~~i~~`~'1~~]
     Case 2:22-cv-00840-JVS-AGR Document 1 Filed 02/07/22 Page 2 of 10 Page ID #:2



 1             2.   Plaintiffis informed and believes, and thereon alleges, that Defendant BETTY T.

 2      YEE("YEE'~ is, and was ai all times herein mentioned, an individual residing in the County of
        Sacramento, State ofCalifornia Plaintiffis further informed and believes, and upon such
,~      information and belied alleges, that Defendant YEE is, and was at all times herein mentioned,
5       Director ofthe Franchise Taac Board ofthe State of California.
6              3.   Plaintiffis informed and believes, and thereon alleges, that Defendant STATE BAR
~       OF CALIFORNIA("STATE BAR")is, and was at all times herein mentioned,a public

g       corporaxion under California law. Plaintiffis further advised and believes, and thereon alleges,
9       that the principal office of Defendant STATE BAR is, acid was ai all times herein mentioned,in
        the City ofSan Francisco.
lU
               4.   Plaintiffis informed and believes, and thereon alleges, that Defendant LEAH T.
~1
        WILSON("WILSON")is, and was at all times herein mentioned, a resident ofthe County of
12
        Alameda, State of California. Upon further information and belied Defendant WII.SON is, and
13
        was at all times herein mentioned., Executive Director of Defendant STATE BAR and a licensed
14
        California attorney.
15
          5. Plaintiffis informed and believes, and thereon alleges, that Defendant JORDAN N.
16      ~G~.~u~GHT")is, and was at all times herein mentioned,an individual residing in the
17
        County ofSan Bernardino, State ofCalifornia. Upon further information and belied said
1g      Defendant is, and was at all times herein mentioned,a member ofthe Client Security Fund
19      Commission("CSFC")established, supervised, managed and operated by Defendant STATE
20      BAR.
2l            6.    Plaintiffis informed and believes, and thereon alleges,that Defendant MELANIE
22      O'DAY("O'DAY")is, and was at all times herein mentioned, an individual residing in the
23      County ofLos Angeles, State of California. Upon further information and belief, said Defendant
24      is, and was at all times herein mentioned, a member ofCSFC.

25            7.    Plaintiff is informed and believes, and thereon alleges, that Defendant JOSEPH

26      DINfINO("DIMING")is, and was at all times herein mentioned, an individual residing in the
27      County of Orange, State ofCalifornia Upon feather information and belief, satd Defendant is,
28     and was at all times herein mentioned, a member ofCSFC.


        EZOR V. YEE                                      2
       Case 2:22-cv-00840-JVS-AGR Document 1 Filed 02/07/22 Page 3 of 10 Page ID #:3




 1                8.     Plaintiffis informed and believes, and thereon alleges, that Defendant FENGLAN

2         LIU("LIU")is, and was at all times herein mentioned,an individual residing in the County of

          Los Angeles, State of California Upon fiuther information and belief, said Defendant is, and was

q         at all times herein mentioned,a member ofCSFC.

5                 9.     Plaintiffis informed and believes, and thereon alleges,that Defendant KRISTEN

6         POFAHL {"POFAHL'~ is, and was at atl tines herein mentioned,an individual residing in the

~         County of Solano, State ofCalifornia Upon fwther information and belief, said Defendant is, and

g         was at all times herein mentioned,a member ofCSFC.

9                10_     Plaintiffis informed and believes, and thereon alleges,that Defendant ROBERT

          SERTNER("SERTNER")is, and was at all times herein mentioned, an individual residing in the
10
          County of Los Angeles, State ofCalifornia.
11
                  11 _    Plaintiffis informed and believes, and thereon alleges, that Defendant B J HYMES
12
          TRUST("TRUST")is, and was at all times herein mentioned,a Living Trust supervised,                   I
13
          managed and overseen by Defendant SERVER in the County ofLos Angeles, State of California,
14
          as Trustee ofsaid Tnist.
15
                 12.      Plaintiffis ignorant ofthe true names and capacities of Defendants DOES 1

~ ~'      through 10,inclusive, and therefore sues said Defendants by such fictitious names. Plaintiff will

1~        amend this Complaint to allege the true names and capacities ofDefendants DOES 1 through 10,

~$        when this information is ascertained_
19               13.        Plaintiff is informed and believes, and thereon alleges, that each ofthe DOE

20        Defendants participated or acted in concert with the other named Defendants, and each ofthem.
21        Said DOE Defendants are therefore responsible and liable in some manner for ttie acts,
22        occurrences, and/or omissions alleged herein, and have thereby proximately caused damages to
23        Plaintiff, as herein alleged.

24               14.         Plaintiffis informed and believes, and based thereon alleges, that at all times

25        herein mentioned,each ofthe Defendants was the agent, partner, or employee ofeach ofthe other

26        Defendants. In doing the things complained of herein, each ofsaid Defendants was acting within

27        the course and scope ofsuch agency, partnership, or employment. All acts and omissions alleged

28        to have been done by Defendants, and each ofthem, were done with the consent, knowledge and


           EZOR V. YEE                                      3
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 l      ratification ofall other Defendants.

2              15.        On or about January 28,2022, Defendant YEE,acting on behalf ofthe

3       Franchise Ta~c Board of Gatifornia, made a demand for payment on EZOR for the alleged amount

4       of $ 214,478.20. A true and correct copy of said demand for payment is marked and attached

5       hereto as E~chibit 1 and made a part hereof by reference.

6               16.       Exhibit 1 constitutes extrinsic fraud and is illegal, unconscionable and
        fraudulent, since said amount is and was not owed by EZOR Further, said demand is against
7
        public policy_ In addition, there is, and was at all tithes herein me~ioned, no court ordered
8
        Judgment or Order upon which this amount could be owed; said amount constitutes a penal or
9
        punitive fine entitling EZOR to ajury trial to dispute the alleged indebtedness_ Moreover,
10
        Defendant YEE knew,or as a reasonable person should have known,that the purported debt is
11
        and was not owed by EZOR and constitutes, upon information and belief and at all times relevant
12
        hereto,"double dipping" by Defendant SERTNER,individually and as Tnisttee ofTRUST.
13
        Moreover, upon information and belief, this alleged false,"retaliatory" indebtedness is being
14
        claimed because Defendant YEE and the other named Defendants are, and were at all times
IS
        herein mentioned, angered by EZOR having other pending federal court litigation exposing the
16
        corruption and malfeasance ofcertain California state o~'icers and employees,and further
17
        exposing them to potential significant damages and adverse equitable relief, against their
18      interests.
19              17.    On or about Febniary 7,2022,EZOR notified the Franchise T~ Boazd and other
20      interested parties and counsel that he disputed the alleged indebtedness.
21

22                                             FIRST CAUSE OF ACTION

23                                        VIOLATION OF CIVII.. RIGHTS)

24     (AGAINST DEFENDAN'T'S YEE.STATE BAR,WILSON.WRIGHT.O'DAY.DIMING.

ZS      LIU,POFAHI.)

2b            18.      Plaintiffrefers to, and incorporates as though fully set forth herein, the preceding

27      Paragraphs and allegations ofthis Complaint.

28             19.     This is a civil rights complaint for declaratory relief, damages and other


         EZOR V. YEE
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 1      appropriate relief pursuant to 42 U.S.C. 1983 et seq. Plaintiffs civil rights have been violated, as

2       set forth and alleged herein.
3              20.       This Court hasjurisdiction in this action pursuant to 42 U.S.C. 1983. Moreover,

4       Plaintiffis an moult residing in thisjudicial district where much ofthe tortious, wrongful and
5       unlawfiil actions alleged herein took place.
~               21.      Plaintiffs constitutional and civil rights were violated as follows, without

~       lunitation, as alleged and described herein:
g             (i}      EZOR has been improperly and unlawfully assessed an improper, retaliatory and

9       discriminatory alleged indebtedness,as a direct, legal and proximate resutt oflus exposing
        corruption and malfeasance in other pending federal litigation.
10
             (ii)      EZOR's rights to procedural and substantive due process and equal protection of
11
        laws, under the Fourteenth Amendment,the Fifth Amendment,the United States Constitution, the
12
        California Constitution and other applicable law, were violated by his not receiving a lawful,
13
        fair and correct assessment
14
              (ui)      The alleged indebtedness is, and was at all times herein mentioned, illegal,
15
        unconstihrtional, void, ultra vices,fraudulent and otherwise unsupportable, because the named
16
        Defendants violated their oath, as state actors under authority ofstate law,to be fair and impartial
~~      towards EZOR,had biases and conflicts ofinterest or the appearance ofsame towazds EZOR,and
1g      should have disqual~ed themselves.
19            ~, ~above-referenced Defendarns, as state actors, acted unreasonably so as to violate

20      EZOR's constitutionally and federally protected rights, as herein alleged and described.
21            23.     Said Defendants, and each ofthem,are subject to monetary liability, because they
22      acted unreasonably and unlawfully as state actors to harm Plaintiff. As a direct, legal and
23      proximate result oftheir misconduct and urilawful, wrongful actions, as hereinbefore alleged,
24      Plaintiff has suffered, and continues to suffer, physical and mental pain and anguish, including

25      severe emotional distress. As stated above,such general damages sustained thereby will be

26      ascertained, at or before trial, according to proof. General damages will be at least 5 Million
27      Dollars, ifnot more.

28            24.       Said Defendants, and each ofthem,in harming and injuring Plaintiff as alleged,


         EZOR V. YEE                                      S
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 1      acted with malice, fraud and oppression.'therefore, Plaintiff'is entitled to an award of punitive or

2       exemplary damages,against said Defendants and each ofthem,in the amount of$ 3,000,000.
3              25.      Plaintiffis entitled to appropriate declaratory and equitable relief, declaring that

4        his civil and constitutional rights have been violated, as aforesaid, by all the named Defendants,
5       and each ofthem.In particular, EZOR is entitled to a finding that his civil and constitutional
6       rights were violated and continue to be violated by these Defendants.
~             26. Plaintiffis emitted to a Temporary Restraining Order, Preliminary Injunction and

g       Permanent Injunction against the aforesaid Defendants, enjoining them from violating his
9       constitutional and civil rights and assessing and enforcing the alleged indebtedness.

10
                                       SECOND CAUSE OF ACTION
11
                                        DECLARATORY RELIES
12
                                       tAGAINST DEFENDANTS SERTNER AND TRUS'I1
13

14                                                                                                             ~
                27.   Plaintiffrefers to, and incorporates as though fully set forth herein, the preceding
15
        Pazagraphs and allegations ofthis Complaint.
l6
                2g    plaintiffcontends, and Defendants SERTTIER and TRUST dispute and deny,that

1~      said Defendants are required to reimburse monies they received to appropriate government
lg      agencies related to and concerning the alleged indebtedness.
19              29_   A judicial declaration is necessary in order to determine the conflicting contentions

20      ofthe parties as set forth in the above Paragraph.
21              30. Accordingly,Plaintiff prays that it be adjudged and decreed that the alleged
22      indebtedness is not owed,as claimed in Exhibit 1, and that the conflicting contentions be ruled
23      upon forthwith,in accordance with equity and justice and according to proof
24      ///

25      ///

26      ///

27      ///

28      ///

         EZOR V. YEE                                         6
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 1

             ON FIRST CAUSE OF ACTION FOR VIOLATION OF CIVII.RIGHTS



4             1. For appropriate declaratory and equitable relief, and a finding that P}aintii~s civil

5                rights have been violated by the named Defendants, and each ofthem_

6             2. For general damages against said Defendants, and each ofthem,according to proof.
              3. For punitive damages against said Defendants, and each ofthem,in the amount of $
7
                 3,000,000.
8
              4. For reasonable attorney's fees, according to proof
9
              5. For casts ofsuit incurred herein; and
10
             6. For such other and further reliefas the Court may deem proper and just in the
11
                 premises.
l2
13
              ON SECOND CAUSE OF ACTION FOR DECLARATORY RELIEF
14

IS
              1. For ajudicial determination and declaration as to the respective rights and duties of
16
                  Plaintiffand the named Defendants.
17
              2. For costs ofsuit incurred herein; and
18            3. For such other and further reliefas the Court ma           proper and just in the
19                premises.                                               / ~/
20

21      Dated: February 7,2022                   BY:

22                                                       tL EDWARD

23                                                       Plaintiff

24

25

2b

27

28

         EZOR V. YEE                                     7
     Case 2:22-cv-00840-JVS-AGR
          STATE OF CALIFORNIA   Document 1 Filed 02/07/22 Page   8 of 1001/28/2022
                                                          Notice Date:    Page ID #:8
           FRANCFYSE TAX BOARD
~!~ ~        PO BOX 1328
,~~          RANCHO CORDOVA CA 95741-1328                       222700410002
 .~,,:..~
             (916)845-4064




 DEMAND FOR PAYMENT -COURT-ORDERED DEBT COLLECTIONS
            ❑ Check this box and indicate new address on reverse.                  ACCOUflt NURib6f:          JK - 314 - 2047


                                                                                      BIIIlfi9 NUfI'1bef:   CD-9205-34444
             A. E EZOR
             305 HUDSON AVE                                                             Amount Due:           szi4,4~e.zo
             STE 300
             PASADENA CA 91101-2910


                                                                                   Retum the above part with your payment. i
                                                                                   Keep this part for your records. 1
 Thy off~e listed ~n this ~ofirg ~ef~~red yrn~r court-ordered c~bt         T~ p~V ~~~R ~~/IIU~'~T ~~~
 to us for collection. Your account is past dus and legal action is
 pending.                                                                      1. Make your check or money order payable to
                                                                                 Court-0rdered Debt Collections. Write your
You must pay the amount due within ten days of this notice's date.               full name, account number, and billing number
It we do not receive your payment, we may take ths following                     on your payment. Mail your payment with the
                                                                                 top portion of this notice to.
collection actions:
                                                                                  COURT-0RDERED DEBT COLLECTIONS
 • Garnish your wages ar other sources of income.                                 FRANCt11SE TAX BOARD
                                                                                  PO BOX 1328
 • Attach your bank account                                                       RANCHO CORDOYA CA 95741-1328

 • Seize and sell your teat or personal property.                          2. To pay online and for other payment options,
                                                                              go to ftb.ca.gov and search for My COD
 • File a lien to attach to all real property you own or may                  Account.
   acquire in Caiifomia.
                                                                           Account Number:
 • Attach your California stake income tax refund or lottery winnings.                                      JK-314-2047

The amount due listed may not include all the amounts you owe.             Billing Number:
If you have questions regarding specific case information or if you                                     CD-9205-34444
disagree with the amount due, call the referring office.

Partial payment will not stop collection action or the addition of         Amount Due:
                                                             haMsh~.                                        X214,478.20
interest If an immediate payment in fuN creates an undue -_~._—_._._
ca~i)usa~16j&i5-dd6d ~noi toil-~re~~: --

Persons with hearing or speech impairments, call TfY/TDD (800)822-6268.

For more information, go to ftb.ca.gov and search for court-ordered debt. For your account activity and other online
services, search for My COD Account.

 Referring                           Cass                                             Amount                Phone
 Office                              Number                                           Due                   Number

  STATE BAR OF CA                  2812-F-12469-LNR                                 ;77,611.27          (415) 538-2007
  STATE BAR OF CA                  2813-F-1@839-1NR                               0136,866.93           C415) 538-2007
          Case 2:22-cv-00840-JVS-AGR Document 1 Filed 02/07/22 Page 9 of 10 Page ID #:9




 FRANCHISE TAX BOARD                                            FRANCHISE TAX ~DARD PRIVACY NOTICE
 COURT-QRDF..REQ QE&~.~~?LLECTlONS                              The privacjiofjinur personal informationts iti~ortant to us.
 GENERAL lPIF~FH1AT10N                                          Yom Ri~~
                                                                Yau have a right 6~ vieMr our records containing your
 The Legislature sstabli~ad franchise Tax Board's               persona!~tonnation_ We must fa8 you why we ask for
 Court-Ordered Debt Coiecions to hey co~ect dement              your perso~~al infama~on,and ~ we've shared your
 court~rdered debts_ These debts dude fines, Penalties.         ~focmation with ohs_ You also have the right to
 forfeitures, and reskEution ordatssnpo~d by the courts         quest~n the aa;ucacy of ate a~forma~on contained in
 for criminal offenses,as wee/ as oMerclue fines for most       your file.
 vehicle code viota6ons_ We oaiect tl~ese debts by
 withholding wages,levying bank aa~unts,and seizing             Reason f+ur ~i~or~abotr Request
 real or personal properly.(Revenue and Taxation Code           We request yax personal formation ~ resolve your
 Sectlon (R$TC)15280 and Code of Crv~ Procedure                 cieHnquent rnurt-ordered debt tt is mandatory that you
 Section 706.074)                                               famish a~ requss6ed infomration_ if you rail 6o comply, we
                                                                may Ice legal action is obta~ this in~armation.(R$TC
For more information, go to f~.cagov and saandi fnr             Sec~on 1928U}
court-ordered debt For your account adivif~r and other
online services, search for Mq COD Account.                     Mformation D'ssciosure
                                                                We may share your personal in~armation ~ resolve your
 Your D~iinquent Court-Ordered Debi                             det~quer►t debt We may share your infom~ation with
 Your account was referred to us for             ,and you
                       ~o     ail current and pasE due debts.   ertipbyers, feianciaJ institutions, process agents, or others
 are legacy required pay
                                                                who hoM assets bebnging b~ you.
 We continue col~cting unb~ your debt is pad,or until
 the referring office instructs us ~o do otherwise_ !fan        Respons~iid~t ~r the Records
 immediate payment in fug cxeales an use hardship               The [director of the Re~renue Recovery Services Bureau
 orrf you already paid ~s amount due,caH us at                  is respons~le ~r maiming the raaQrds ~
(916)845-4064(not ~-free).                                      Court-Ordered Debt Co~ections. To obtain in#ormation
                                                                about your records:
 Persons with hearing or speech impairments,ca{I TTY/TDD
(800j822-62fi8.
                                                                • Write ta:
If you Disagree witl~ the Amount Dew
For specific case ir~fortnation or rf you dis~rse    the        COURT-0RDERED DEBT COLLECTIONS
amount due, you must call the rsfer~gsg office_ Before          FRANCHISE TAX BOARD
calling, please have your case number and soctial security      PO 8pX 1328
number ready.                                                   RANCHO CORDOVA GA 9574 -1328

ASISTENgA EN ESPANOL                                            • Cap (si s} s4s-aosa (not ~N-tree).
Si usted n~~esita asisten~ia adicionaf en Espanol, por
favor (lame a! tel~forto (916) 845-4064 (cargos apGcan).


                                                                ~-
   Case 2:22-cv-00840-JVS-AGR Document 1 Filed 02/07/22 Page 10 of 10 Page ID #:10




                                                A. EDWARD EZOR
                                         305 5. HUDSON AVEfdUE,SU(TE 300
                                            PASADENA,CA 912~I
                                             Telephone:(625)568-8098


Court-Ordered Debt Coltectioc►s
Franchise Tax Board
P.O. Box 1328
Rancho Cordova, CA 95741-1328

                                          February 7, 2Q22

                         RE: ILLEGAL AND FRAUDULENT DEMAND FOR PAYMENT IN
                         AtLEGEQ AMOUNT OF $ 214,47810; ACCOUNT NO.
                         1K-314-2Q47; BtWNG NklMBER CD-92Q5-34444




Dear Franchise Tax Board:

The above-referenced debt ~ nat owed, fiau~utent and ittegat. Furthermore, a representateve and
employee of FTB ac#cnaw{edged to me recerttty tetephanicatly tfiat this alleged debt is not predicated on
any valid court judgment. Since same constitutes a pens! or punitive fine, ! am also entitled to a jury trial
to contest same, per federal law arxi US. Supreme Court precedent Accordingly, suit will be filed in a
court of competent jurisdiction, seeki€~g appropriate equitable ar~d monetary relief_ Please govern
yourselves accordir~ly,


                                                   Very truly y+oetcs,


                                                    A.

cc: State Bay of Catifnmia
    Betty T. Yee, State Controller, Chair FT8
   lozei Brunett, Chief Counsel Ff8




                                                                  i
